             Case 22-57069-lrc                   Doc 1                Filed 09/06/22 Entered 09/06/22 09:49:48                         Desc
                                                                      Petition Page 1 of 10

 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                                                                                                                9:46
                                                                                                  ZOTISEP -6 Mi
 Northern District of Georgia

 Case number (If known):                                          Chapter you are filing under:
                                                                  Ti Chapter 7
                                                                  U Chapter 11


                73:                     o69                       U Chapter 12
                                                                  • Chapter 13                                                   Clieck if this is an
                                                                                                                                    ended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                06/22

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and In joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:     Identify Yourself

                                     About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
   Write the name that is on your
   government-issued picture
                                     Precious
   identification (for example,      First name                                                     First name
   your driver's license or
   passport).                        Middle name                                                    Middle name
   Bring your picture                Grier
   identification to your meeting    Last name                                                      Last name
   with the trustee.
                                     Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr., Jr., II, Ill)




2. All other names you
   have used in the last 8           First name                                                     First name
   years
   Include your married or           Middle name                                                    Middle name
   maiden names.
                                     Last name                                                      Last name


                                     First name                                                     First name

                                     Middle name                                                    Middle name

                                     Last name                                                      Last name




3. Only the last 4 digits of
   your Social Security
                                     XXX       — xx—              6     9      3      2             XXX       — xx—
   number or federal                 OR                                                             OR
   Individual Taxpayer
   Identification number             9 xx - xx -                                                    9 xx - xx
   (ITIN)
              •1611IPIPX4PIS.


Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                page 1
             Case 22-57069-lrc                      Doc 1         Filed 09/06/22 Entered 09/06/22 09:49:48                                          Desc
                                                                  Petition Page 2 of 10


Debtor 1     Precious Grier                                                                           Case number (if known)
             First Name   Middle Name               Last Name




                                        About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                               I have not used any business names or EINs.                   0 I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                       Business name

    Include trade names and
    doing business as names             Business name                                                       Business name



                                        EIN                                                                 EIN


                                        EIN                                                                 EIN




5. Where you live                                                                                           If Debtor 2 lives at a different address:



                                        100 Bradley St
                                        Number          Street                                              Number           Street




                                        Covington                                 GA       30016
                                        City                                     State     ZIP Code          City                                     State     ZIP Code

                                         '4144-6
                                        County                                                               County

                                        If your mailing address is different from the one                    If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send                yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                          any notices to this mailing address.



                                        Number          Street                                               Number            Street


                                        P.O. Box                                                             P.O. Box


                                        City                                     State     ZIP Code          City                                     State     ZIP Code




6. Why you are choosing                 Check one:                                                           Check one:
   this district to file for
   bankruptcy
                                        El Over the last 180 days before filing this petition,               0 Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any                     I have lived in this district longer than in any
                                               other district.                                                      other district.

                                        0 I have another reason. Explain.                                    0 I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                              (See 28 U.S.C. § 1408.)




   Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2
               Case 22-57069-lrc                       Doc 1       Filed 09/06/22 Entered 09/06/22 09:49:48                                     Desc
                                                                   Petition Page 3 of 10


Debtor 1       Precious Grier                                                                      Case number (if known)
               First Name   Middle Name                Last Name




Part 2:      Tell the Court About Your Bankruptcy Case


7.   The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
     Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                          O Chapter 7
     under
                                          O Chapter 11

                                          •     Chapter 12

                                          O Chapter 13


     How you will pay the fee                   I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                          O I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          O I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                            less than 150% of the official poverty line that applies to your family size and you are unable to
                                            pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                            Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


0. Have you filed for                     El No
   bankruptcy within the
   last 8 years?                              0 Yes.    District                           When                         Case number
                                                                                                   MM! DD / YYYY

                                                        District                           When                         Case number
                                                                                                   MM/ DD / YYYY

                                                        District                           When                         Case number
                                                                                                   MM! DD / YYYY




10. Are any bankruptcy                        O No
    cases pending or being
    filed by a spouse who is                  0 Yes.    Debtor                                                          Relationship to you

    not filing this case with                           District                            When                        Case number, if known
    you, or by a business                                                                          MM/DD / YYYY
    partner, or by an
    affiliate?
                                                        Debtor                                                          Relationship to you

                                                        District                            When                        Case number, if known
                                                                                                   MM / DD / YYYY



      Do you rent your                        a No.     Go to line 12.
      residence?                              0 Yes.    Has your landlord obtained an eviction judgment against you?
                                                        O No. Go to line 12.
                                                        O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
             Case 22-57069-lrc                         Doc 1           Filed 09/06/22 Entered 09/06/22 09:49:48                              Desc
                                                                       Petition Page 4 of 10


Debtor 1      Precious Grier                                                                           Case number (if known)
              First Name        Middle Name               Last Name




Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                 Ei No. Go to Part 4.
    of any full- or part-time
    business?                                 0 Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                      Number          Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                                                                            State          ZIP Code
                                                          City


                                                      Check the appropriate box to describe your business:

                                                      O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                      •       Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                      CI      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                       O None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                         choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                      are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §                      No. I am not filing under Chapter 11.
    1182(1)?                                  0 No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                         the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                              0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                       Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                              U Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                     Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
            Case 22-57069-lrc                    Doc 1       Filed 09/06/22 Entered 09/06/22 09:49:48                            Desc
                                                             Petition Page 5 of 10


Debtor 1      Precious Grier                                                                   Case number (if known)
              First Name    Middle Name          Last Name




FM           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               a No
     property that poses or is
     alleged to pose a threat               Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                           If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                   Where is the property?
                                                                            Number        Street




                                                                            City                                        State   ZIP Code




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                             page 5
             Case 22-57069-lrc                      Doc 1        Filed 09/06/22 Entered 09/06/22 09:49:48                                          Desc
                                                                 Petition Page 6 of 10


Debtor 1       Precious Grier                                                                           Case number (if known)
              First Name     Middle Name             Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.
                                              I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for                                                                               Attach a copy of the certificate and the payment
                                              Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                 I received a briefing from an approved credit                    U I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court             Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee             plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                     U I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.
                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.

                                           U I am not required to receive a briefing about                      U I am not required to receive a briefing about
                                             credit counseling because of:                                        credit counseling because of:

                                              •    Incapacity. I have a mental illness or a mental                  O Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                           deficiency that makes me
                                                               incapable of realizing or making                                   incapable of realizing or making
                                                               rational decisions about finances.                                 rational decisions about finances.
                                              U Disability.      My physical disability causes me                   U Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                      to be unable to participate in a
                                                                 briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                 through the Internet, even after I                                    through the internet, even after I
                                                                 reasonably tried to do so.                                            reasonably tried to do so.
                                               •   Active duty. I am currently on active military                   U Active duty. I am currently on active military
                                                                duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                           page 6
                Case 22-57069-lrc                    Doc 1        Filed 09/06/22 Entered 09/06/22 09:49:48                                      Desc
                                                                  Petition Page 7 of 10


    Debtor 1      Precious Grier                                                                      Case number (if known)
                 First Name   Middle Name            Last Name




               Answer These Questions for Reporting Purposes

                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
        you have?
                                                0 No. Go to line 16b.
                                                RI Yes. Go to line 17.
                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                 money for a business or investment or through the operation of the business or investment.
                                                0 No. Go to line 16c.
                                                0 Yes. Go to line 17.
                                            16c.State the type of debts you owe that are not consumer debts or business debts.



    17. Are you filing under
        Chapter 7?                          0 No. I am not filing under Chapter 7. Go to line 18.

        Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
        any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
        excluded and                          No    a
        administrative expenses
        are paid that funds will be       0 Yes
        available for distribution
        to unsecured creditors?
1
    18. How many creditors do               0 1-49                                 0 1,000-5,000                               0 25,001-50,000
        you estimate that you               0 50-99                                0 5,001-10,000                              U 50,001-100,000
        owe?                                0 100-199                              0 10,001-25,000                             0 More than 100,000
                                            0 200-999
    19. How much do you                     0 $0-$50,000                           0 $1,000,001-$10 million                    0 $500,000,001-$1 billion
        estimate your assets to             a $50,001-$100,000                     0 $10,000,001-$50 million                   0 $1,000,000,001-$10 billion
        be worth?                           0 $100,001-$500,000                    0 $50,000,001-$100 million                  0 $10,000,000,001-$50 billion
                                            0 $500,001-$1 million                  0 $100,000,001-$500 million                 0 More than $50 billion
    20. How much do you                     CI $0-$50,000                          0 $1,000,001-$10 million                    0 $500,000,001-$1 billion
        estimate your liabilities           0 $50,001-$100,000                     0 $10,000,001-$50 million                   0 $1,000,000,001-$10 billion
        to be?                              0 $100,001-$500,000                    0 $50,000,001-$100 million                  0 $10,000,000,001-$50 billion
                                            0 $500,001-$1 million                  0 $100,000,001-$500 million                 0 More than $50 billion
     Part 7:   Sign Below

                                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and
, For you                                   correct.
                                            If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                            of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                            under Chapter 7.
                                            If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                            this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                            I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                            I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                            with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                            18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                 „..           -               ",....-
                                                                                  ..—                       x
                                                   -ci.c1.-,c.5 (3,„
                                            Xgnature of Debtor 1                                                Signature of Debtor 2

                                                Executed on 09 / 02 /2022                                       Executed on
                                                            MM / DD /YYYY                                                      MM / DD    /YYYY


      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
            Case 22-57069-lrc                      Doc 1        Filed 09/06/22 Entered 09/06/22 09:49:48                                        Desc
                                                                Petition Page 8 of 10


Debtor 1     Precious Grier                                                                        Case number (If known)
             First Name   Middle Name              Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                                     MM   /     DD / YYYY




                                           Printed name


                                           Firm name


                                            Number     Street




                                            City                                                            State               ZIP Code




                                            Contact phone                                                   Email address




                                            Bar number                                                      State




                                                                                                                            ,




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
             Case 22-57069-lrc                  Doc 1            Filed 09/06/22 Entered 09/06/22 09:49:48                          Desc
                                                                 Petition Page 9 of 10


 Debtor 1     Precious Grier                                                                Case number (if known)
              First Name   Middle Name          Last Name




  For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
! bankruptcy without an                  should understand that many people find it extremely difficult to represent
! attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
! If you are represented by
  an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
  need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.
                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                         O No
                                         a Yes
                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         O No
                                         a Yes
                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                         a  No
                                         O Yes. Name of Person
                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                         attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                             #
                                             gnature of Debt r 1                                       Signature of Debtor 2


                                         Date               09 / 02 / 2022                             Date
                                                            mm   DD   /YYYY                                             MM/ DD /YYYY

                                         Contact phone       Cell                                      Contact phone


                                         Cell phone         6783538503                                 Cell phone


                                         Email address      Preciouschannell@gmail.com                 Email address
                Case 22-57069-lrc              Doc 1       Filed 09/06/22 Entered 09/06/22 09:49:48                               Desc
                                                          Petition Page 10 of 10
Case Number:22-57069                            Name: Grier                              Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/banlcruptcy/filing-without-attorney.


CM Individual - Series 100 Forms                                                         ID Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                    1:1 Last 4 digits of SSN
 El Pro Se Affidavit (signature must be notarized,                                       O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 O Signed Statement of SSN                                                               O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                       Case filed via:
El Schedules: A/B C D E/ FGHIJ 0 J-2 (separate household of Debtor 2)              El Intake Counter by:
El Summary of Assets and Liabilities                                                    O Attorney
El Declaration About Debtor(s) Schedules                                                O Debtor
O Attorney Disclosure of Compensation                                                   El Other: Rodarius Reikel Mitchell 470-519-6236
O Petition Preparer's Notice, Declaration and Signature (Form 119)                 O Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                         1:1 Attorney
El Chapter 13 Current Monthly Income                                                  CI Debtor
O Chapter 7 Current Monthly Income                                                    0 Other:
O Chapter 11 Current Monthly Income
El Certificate of Credit Counseling (Individuals only)                             O Email [Pursuant to General Order 45-2021, this petition
El Pay Advices (Individuals only) (2 Months)                                       was received for filing via email]
El Chapter 13 Plan, complete with signatures (local form)
O Corporate Resolution (Non-Individual Ch. 7 & 11)                                               Histo
                                                                                   Prior cases within 2 yea
MISSING DOCUMENTS DUE WITHIN 30 DAYS
CI Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Ch.11 Business                                                                     Acknowledgment of receipt o Deficiency Notice
O 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                    Intake Clerk: itZ                    Verified ceDate:9/6/22
CI Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      1:21 Paid $ 0
       0 Pending Pay.Gov, Paid $
       CI IFP filed (Ch.7 Individuals Only)
       El 2g-Order Granting CI 3g-Order Granting 10-day (initial payment of $                             due within 10 days)
       El 2d-Order Denying with filing fee of $  due within 10 days
       El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
